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 1                                                           HONORABLE BENJAMIN H. SETTLE

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 7                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 8                                          AT SEATTLE

 9   ROBERT KELLY, ERYN LEARNED, AND                   Civil Action No. 3:21–cv–05468–BHS–
     KERRY WANO, on behalf of themselves               DWC
10   and all others similarly situated,
                                                       DEFENDANT’S MOTION TO
11                  Plaintiffs,                        TRANSFER VENUE

12          vs.                                        NOTE ON MOTION CALENDAR:
                                                       September 17, 2021
13   THE MCCLATCHY COMPANY, LLC, a
     Delaware corporation,                             ORAL ARGUMENT REQUESTED
14
                    Defendant.
15

16          Pursuant to 28 U.S.C. § 1404(a), Defendant The McClatchy Company, LLC
17   (“McClatchy”) respectfully requests the Court transfer the above–entitled action to the United
18   States District Court for the Eastern District of California in accordance with the forum-selection
19   clause in the Terms of Service that Plaintiffs Robert Kelly, Eryn Learned, and Kerry Wano agreed
20   to be bound by when they subscribed to a McClatchy newspaper (“Plaintiffs”).
21                                     FACTUAL BACKGROUND
22          McClatchy owns and operates newspapers throughout the United States, including but not
23   limited to The Olympian, The Idaho Statesman, and The Kansas City Star. See Declaration of
24   Maria Ravera (hereinafter “Ravera Decl.”) ¶ 2; ECF No. 1 ¶¶ 42, 54, 69. Individuals who subscribe
25   to a newspaper owned by McClatchy agree to be bound to “Terms of Service”—whether by
26   electronically signing the Terms of Service, agreeing to be bound to them via telephone, or by
27   responding to a direct mailing—and further confirm agreement to be bound by them by paying


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 1   their subscription fees. See Ravera Decl. ¶ 3. These Terms of Service are identical for each

 2   newspaper, except for the information specific to the newspaper. See id.

 3          When an individual subscribes in person, this agreement to be bound to the Terms of
 4   Service is confirmed by the subscribing individual electronically checking an unchecked check
 5   box immediately adjacent to the following statement:
 6
            I have read and agree to the Terms of Service. Our content is delivered to you by
 7          various methods and formats. For your convenience, your subscription will
            automatically renew after the initial term at the current rate unless you tell us to
 8
            cancel. We reserve the right to substitute the delivery and format of your print
 9          subscription with only an eEdition (digital replica of a print edition) at any time.
            Notice of delivery and format changes, except those caused by inclement weather,
10
            will be given at least 30 days in advance.
11

12   See Ravera Decl. Ex. 1 at 2. The Terms of Service are linked to this disclosure and the check box
13   must be checked in order for the individual to complete the subscription transaction. See Ravera
14   Decl. ¶ 4.
15          For those who subscribe via telephone, the Terms of Service are read to them prior to
16   completing the subscription. See id. ¶ 5. For those who subscribe via direct mailing, a printed link
17   to the Terms of Service is included within the disclosures. See id. ¶ 6. A link to the Terms of
18   Service is also present in each renewal bill, whether provided via hard copy or electronically. See
19   Ravera Decl. Ex. 2 at 2.
20          Each of the Plaintiffs in this case has alleged that they subscribed to a McClatchy
21   newspaper through one of the various available means, tacitly admitting that they agreed to be
22   bound by McClatchy’s Terms of Service and the arbitration provision therein. See ECF No. 1 ¶¶
23   42, 54, 69. Material to Plaintiffs’ Complaint, since 2015, McClatchy’s Terms of Service have
24   included the following arbitration provision, with the newspaper specific information auto–filled
25   into the form Terms of Service:
26
            10.3. Dispute Resolution and Arbitration
27
            You and [PAPER_NAME] agree to the following dispute resolution process for

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 1          any legal controversy or legal claim arising out of or relating to these Terms of
            Service, [SITE_NAME], any subscription to [PAPER_NAME] or [SITE_NAME]
 2          or any other aspect of our relationship (“Subject Legal Claim”).
 3          In an attempt to find the quickest and most efficient resolution of our issues, you
            and [PAPER_NAME] agree to first discuss any issue informally for at least 30
 4
            days. To do that, please send your full name and contact information, your concern
 5          and your proposed solution by email to us at: customerservice@mcclatchy.com. If
            we should need to discuss an issue with you, we will contact you using the email
 6          or mailing address on your account.
 7          If we do not reach an agreed upon solution after our discussions for at least 30 days,
            you and [PAPER_NAME] agree that any Subject Legal Claim that either of us may
 8          have must be resolved through binding individual arbitration before the American
            Arbitration Association using its Consumer Arbitration Rules. There are two
 9
            limited exceptions to this Dispute Resolution and Arbitration provision: (i) either
10          party may pursue in small claims court any action that is within that court’s
            jurisdiction, as long as the case proceeds on an individual basis only; (ii) either
11          party may seek to enforce its patents, trademarks, copyrights or trade secrets in an
            appropriate state or federal court.
12
            To help resolve any issues between us promptly and directly, you and
13          [PAPER_NAME] agree to begin any arbitration within one year after a Subject
            Legal Claim arises; otherwise, the Subject Legal Claim is waived. You and
14
            [PAPER_NAME] also agree to arbitrate in each of our individual capacities only,
15          not as a representative or member of a class, and each of us expressly waives any
            right to file a class action or seek relief on a class basis. All arbitration hearings
16          will be held in Sacramento, California. The parties agree that this Dispute
            Resolution and Arbitration provision is subject to, and will be governed and
17          enforced under, the Federal Arbitration Act.
18          You may download a form Notice to initiate arbitration at www.adr.org. If you
19          initiate the arbitration, your arbitration fees will be limited to the filing fee set forth
            in the AAA’s Consumer Rules. It is important that you understand that the
20          arbitrator’s decision will be binding and may be entered as a judgment in any court
            of competent jurisdiction. If the arbitrator rules against [PAPER_NAME], in
21          addition to accepting whatever responsibility is ordered by the arbitrator, we think
            it’s fair that [PAPER_NAME] reimburse your reasonable attorneys’ fees and costs,
22          regardless of who initiated the arbitration. In addition, if the arbitrator rules in
23          [PAPER_NAME]’s favor, it will not seek reimbursement of our attorney’s fees,
            regardless of who initiated the arbitration.
24
     Ravera Decl. Ex. 3 at 9–10.1
25

26
     1
27    Although there have been minor modifications to the Terms of Service since 2015, the arbitration
     clause has remained the same. Ravera Decl. ¶ 10. A copy of the current Terms of Service for each

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 1           The American Arbitration Association (AAA)’s Consumer Arbitration Rules cited in the

 2   Terms of Service are available to the public free of charge and easily locatable at

 3   https://www.adr.org/sites/default/files/Consumer%20Rules.pdf.

 4           AAA’s Consumer Arbitration Rules include the following provision:

 5           Jurisdiction

 6           (a) The arbitrator shall have the power to rule on his or her own jurisdiction,
             including any objections with respect to the existence, scope, or validity of the
 7           arbitration agreement or to the arbitrability of any claim or counterclaim.
 8
             (b) The arbitrator shall have the power to determine the existence or validity of a
 9           contract of which an arbitration clause forms a part. Such an arbitration clause shall
             be treated as an agreement independent of the other terms of the contract. A
10           decision by the arbitrator that the contract is null and void shall not for that reason
             alone render invalid the arbitration clause.
11

12   Request for Judicial Notice (“RJN”) Ex. 1 at 17. The current Consumer Arbitration Rules became
13   effective September 1, 2014, id. at 1, and, therefore, are the applicable Consumer Arbitration Rules
14   for Plaintiffs’ claims.
15           On June 29, 2021, notwithstanding that Plaintiffs agreed that all Subject Legal Claims are
16   governed by the Terms of Service’s arbitration provision, which includes a one-year limitations
17   period, Sacramento, California as the chosen venue, and a class action waiver, Plaintiffs filed a
18   Complaint in the Western District of Washington including claims that are time barred on behalf
19   of a nationwide class of individuals. ECF No. 1.
20                                          LEGAL STANDARD
21           “For the convenience of parties and witnesses, in the interest of justice, a district court may
22   transfer any civil action to any other district or division where it might have been brought or to
23   any district or division to which all parties have consented.” 28 U.S.C. § 1404(a). Where such
24   transfer is made to enforce a contractual forum–selection clause, “a district court should ordinarily
25   transfer the case to the forum specified in that clause. Only under extraordinary circumstances
26

27   of the at-issue newspapers are appended to Ms. Ravera’s declaration. See Ravera Decl. Exs. 4–6.


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 1   unrelated to the convenience of the parties should a § 1404(a) motion be denied.” Atl. Marine

 2   Constr. Co. v. United States Dist. Court, 571 U.S. 49, 62 (2013).

 3          When a forum–selection clause forms the basis for a Section 1404(a) motion, the standard

 4   analysis is modified in three ways: (1) a plaintiff forfeits his or her choice of forum privilege and

 5   “bears the burden of establishing that transfer to the forum for which the parties bargained is

 6   unwarranted,” (2) a court “should not consider arguments about the parties’ private

 7   interests . . . [but] may consider arguments about public–interest factors only,” and (3) “transfer of

 8   venue will not carry with it the original venue’s choice–of–law rules.” Id. at 63–65.

 9                                                 ARGUMENT

10          The Terms of Service expressly require that that all “Subject Legal Claim[s],” defined as
11   “any legal controversy or legal claim arising out of or relating to these Terms of Service,
12   [SITE_NAME], any subscription to [PAPER_NAME] or [SITE_NAME] or any other aspect of
13   our relationship,” be resolved on an individual basis in an AAA arbitral forum in Sacramento,
14   California. See Ravera Decl. Ex. 3 at 9. However, since the rule in the Ninth Circuit appears to be
15   that a court may only compel arbitration within its jurisdiction, the proper procedure appears to be
16   to transfer this case to the Eastern District of California, where McClatchy may then file its motion
17   to compel arbitration, and the Eastern District of California will retain jurisdiction to enforce any
18   arbitral ruling. Transfer to the Eastern District of California is appropriate because Sacramento,
19   California is located within that District.
20      A. Arbitration in Sacramento is the Proper Forum to Resolve Plaintiffs’ Claims
21          Regardless of what substantive law applies, “both state and federal law strongly favor
22   arbitration and require all presumptions to be made in favor of arbitration.” Gandee v. LDL
23   Freedom Enters., Inc., 176 Wn.2d 598, 603, 293 P.3d 1197 (2013) (citing Zuver v. Airtouch
24   Commc’ns, Inc., 153 Wn.2d 293, 301, 103 P.3d 753 (2004)); see also Moses H. Cone Mem’l Hosp.
25   v. Mercury Constr. Corp., 460 U.S. 1, 24, 103 S. Ct. 927, 74 L. Ed. 2d 765 (1983) (“Section 2 is a
26   congressional declaration of a liberal federal policy favoring arbitration agreements,
27   notwithstanding any state substantive or procedural policies to the contrary.”). “Courts must


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 1   indulge every presumption ‘in favor of arbitration, whether the problem at hand is the construction

 2   of the contract language itself or an allegation of waiver, delay, or a like defense to arbitrability.’”

 3   Adler v. Fred Lind Manor, 153 Wn.2d 331, 342 (2004) (citing Moses, 460 U.S. at 25).2

 4           Here, the parties expressly agreed to four routes by which Subject Legal Claims would be

 5   resolved: (1) informally, (2) on an individual basis through AAA arbitration in Sacramento,

 6   California; (3) in a small claims court; or (4) in state or federal court for intellectual property

 7   claims. Ravera Decl. Ex. 3 at 9. Plaintiffs have filed a formal complaint but are not alleging any

 8   intellectual property claims and have not brought individual claims in a small claims court.

 9   Therefore, the only remaining agreed-upon option is to resolve any Subject Legal Claim on an

10   individual basis through AAA binding arbitration in Sacramento, California.
11       B. Transfer is Necessary As This Court Likely Does Not Have Jurisdiction to Compel
12           Arbitration in Sacramento, California
13           Although 9 U.S.C. § 4 authorizes federal courts to compel arbitration, courts in the Ninth
14   Circuit implementing the statute have held that such authority is limited to compelling arbitration
15   within a court’s jurisdiction. See, e.g., Guo v. Kyani, Inc. No. LA CV17–08257 JAK (GJSx), 2018
16   U.S. Dist. LEXIS 227744, at *14 (C.D. Cal. July 20, 2018) (“[I]n the Ninth Circuit, a district court
17   may not compel arbitration in a district other than the district in which the motion or petition to
18   compel was filed.” (citing Lexington Ins. Co. v. Centex Homes, 795 F. Supp. 2d 1084, 1091 (D.
19   Haw. 2011))).3 Consequently, once the Court transfers this matter to the Eastern District of
20
     2
21     Although the issue of enforceability of the Terms of Service is not directly before this Court, the
     parties have expressly delegated the determination of enforceability to the arbitrator by
22   incorporating the AAA Consumer Arbitration Rules. See Brennan v. Opus Bank, 796 F.3d 1125,
     1130 (9th Cir. 2015) (“[G]ateway issues [of arbitrability] can be expressly delegated to the
23   arbitrator where ‘the parties clearly and unmistakably’ [do so.]” (quoting AT&T Techs., Inc. v.
     Commc’ns Workers of Am., 475 U.S. 643, 649 (1986))); Brennan, 796 F.3d at 1130 (“Now that
24   the question regarding incorporation of the AAA rules is squarely before us, we hold that
25   incorporation of the AAA rules constitutes clear and unmistakable evidence that contracting
     parties agreed to arbitrate arbitrability.”); Ravera Decl. Ex. 3 at 9–10.
26   3
      The Ninth Circuit has not directly addressed the question as to whether a defendant can move to
27   compel arbitration outside of a district court’s jurisdiction. See Cont’l Grain Co. v. Dant & Russell,
     Inc., 118 F.2d 967, 969 (9th Cir. 1941) (affirming District Court of Oregon’s order to compel

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 1   California, McClatchy will exercise its contractual right to move to compel arbitration in

 2   Sacramento, as agreed to by the parties in the Terms of Service.

 3           The majority of the factors a court considers in deciding a motion to transfer further weigh

 4   in favor of a transfer of this Action. As noted above, analysis of motions to transfer based on

 5   enforcing a valid forum–selection clause does not give weight to a plaintiff’s selection of forum

 6   or consider the private interests of the parties. Atl. Marine, 571 U.S. at 63–64. Thus, the only

 7   factors left to consider are the public–interest considerations, i.e., “administrative difficulties

 8   flowing from court congestion; the ‘local interest in having localized controversies decided at

 9   home’; . . . the avoidance of unnecessary problems in conflict of laws . . . ; and the unfairness of

10   burdening citizens in an unrelated forum with jury duty.” Piper Aircraft Co. v. Reyno, 454 U.S.
11   235, 241 n.6 (1981) (quoting Gulf Oil Corp. v. Gilbert, 330 U.S. 501, 509 (1947)). Here, there is
12   no “local interest” because the Complaint alleges claims on behalf of a nationwide putative class
13

14
     arbitration in Oregon despite arbitration clause identifying New York because the plaintiff,
15   “having invoked the jurisdiction of the United States District Court for Oregon is hardly in a
     position to complain that it has exercised that jurisdiction in accordance with the statute giving it
16   jurisdiction”); Textile Unlimited v. A..bmhand Co., 240 F.3d 781, 785 (9th Cir. 2001) (noting that
     Section 4 “confines the arbitration to the district in which the petition to compel is filed” but doing
17
     so in the context of a motion to enjoin pending arbitration). However, most district courts in the
18   Ninth Circuit, while “sympathetic to Defendants’ argument that Plaintiffs should not be allowed
     to avoid the contractual place–of–arbitration clause simply by filing suit in another judicial
19   district,” have interpreted the language of Continental Grain and Textile Unlimited to be “a broad
     statement that a court may not compel arbitration in another judicial district.” Larson v. Speetjens,
20   No. C 05–3176 SBA, 2006 U.S. Dist. LEXIS 87481, at *7–8 (N.D. Cal. Nov. 17, 2006). But see
21   Sovak v. Chugai Pharm. Co., 280 F.3d 1266, 1271 n.1 (9th Cir. 2002) (affirming Southern District
     of California court’s order compelling arbitration in Chicago because the plaintiff had waived the
22   argument by not raising it in the opposition to the motion to compel). There is a circuit split as to
     whether courts can compel arbitration outside of their jurisdiction. Compare Econo–Car Int’l v.
23   Antilles Car Rentals, 499 F.2d 1391, 1394 (3d Cir. 1974) (“[Section 4’s] requirement that
     arbitration take place in the district court where the petition is filed is clear and unequivocal.”) with
24   Dupuy–Busching Gen. Agency, Inc. v. Ambassador Ins. Co., 524 F.2d 1275, 1278 (5th Cir. 1975)
25   (“[W]here the party seeking to avoid arbitration brings a suit for injunctive relief in a district other
     than that in which arbitration is to take place under the contract, the party seeking arbitration may
26   assert its Section 4 right to have the arbitration agreement performed in accordance with the terms
     of the agreement.”). Therefore, in an abundance of caution, McClatchy is requesting this Court
27   transfer this action to the Eastern District of California.


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 1   that could have been brought in any federal court if the Terms of Service did not include a binding

 2   arbitration clause with a class action waiver. Also because the suit is a class action, keeping the

 3   case in the Western District of Washington will not ameliorate any conflict of law issues or the

 4   burden placed on a citizen to have jury duty for claims unrelated to this forum. Accordingly, these

 5   administrative considerations support transfer of the litigation to the Eastern District of California

 6   so that it can compel arbitration in an AAA forum, as agreed to by the parties.

 7          Although the Eastern District of California has a slightly longer median resolution time

 8   than the Western District of Washington, the difference is a modest two months. See RJN Exs. B–

 9   C. Even so, Plaintiffs have waited to bring their Complaint, with claims allegedly arising in several

10   instances more than a year ago. See ECF No. 1 ¶¶ 45, 62.
11          In light of the factors overall weighing in favor of transfer, and given the Supreme Court’s
12   acknowledgement that “[b]ecause th[e] [public–interest] factors will rarely defeat a transfer
13   motion, the practical result is that forum–selection clauses should control except in unusual cases,”
14   Atl. Marine, 571 U.S. at 64, transferring this case to the Eastern District of California is proper.
15                                              CONCLUSION
16          The parties expressly agreed that the sole venue and forum for resolving disputes between
17   them is binding AAA arbitration in Sacramento, California on an individual basis. As this Court
18   may not be permitted to compel the parties to arbitrate their claims in Sacramento, California,
19   McClatchy respectfully requests the Court transfer this case to the Eastern District of California,
20   so that it can enforce the binding arbitration clause in the governing Terms of Service.
21          ///
22          ///
23          ///
24          ///
25          ///
26          ///
27          ///


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 1   DATED this 23rd day of August, 2021        LEWIS BRISBOIS BISGAARD & SMITH LLP

 2

 3                                              /s/ John S. Poulos
                                                /s/ Richard A. Meadows
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 9
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10
                                                THE MCCLATCHY COMPANY, LLC
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 1                                    CERTIFICATE OF SERVICE

 2          I declare under penalty of perjury under the laws of the State of Washington that on August

 3   23, 2021, I electronically filed the foregoing with the Clerk of the Court using the CM/ECF system,

 4   which will send notification of such filing to the following:

 5
      TERRELL MARSHALL LAW GROUP PLLC
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      Facsimile: (608) 509–4423
16
      Attorneys for Plaintiffs
17

18          Signed at Seattle, Washington this 23rd day of August, 2021.
19

20                                                      /s/ Annie Kliemann
21                                                      Annie Kliemann, Legal Assistant
                                                        Email: annie.kliemann@lewisbrisbois.com
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